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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               SAVANNAH DIVISION


 JOHN ANTHONY FRILANDO.,

                Plaintiff,                            CIVIL ACTION NO.: 4:22-cv-207

        v.

 KAREN DOVE BARR, et al.,

                Defendants.


                  STATEMENT REGARDING ASSIGNMENT OF CASE
                    TO A UNITED STATES MAGISTRATE JUDGE

       COMES NOW,            JOHN ANTHONY FRILANDO , a party or parties in the above-styled

case and hereby shows this Honorable Court as follows:

                                                1.

       The above-named party (or parties) understands that the Court has designated the United

States Magistrate Judges of this District to exercise plenary jurisdiction over this type of case.

Accordingly, if all parties consent to this matter being assigned to a Magistrate Judge, the Court

will assign this case to a Magistrate Judge, who will thereafter conduct any and all proceedings in

this matter, including any trial and entry of final judgment pursuant to 28 U.S.C. § 636(c).

                                                2.

       The above-named party (or parties) understands that any and all parties are free to withhold

consent and insist that this matter not be assigned to a Magistrate Judge. If any party does not

consent, the Court will not assign this case to a Magistrate Judge, and no party will suffer any

substantive consequences from withholding consent. However, assignment to a Magistrate Judge
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typically allows for a case to be resolved more expeditiously. Thus, if any party withholds consent,

it may take longer for the case to be resolved.

                                                    3.

           The above-named party (or parties) has also been advised and understands that even if any

party does not consent to this case being assigned to a Magistrate Judge, the Court will refer all

pretrial matters to a Magistrate Judge in the following manner:

           Pursuant to 28 U.S.C. § 636(b)(1)(A), even if the parties do not consent and the case is

            not assigned to a Magistrate Judge, the Court will refer any and all non-dispositive pretrial

            matters to a Magistrate Judge for a determination.1 The district judge will only reconsider

            the Magistrate Judge’s decision on any non-dispositive pretrial matter if the decision is

            clearly erroneous or contrary to law.

           Pursuant to 28 U.S.C. § 636(b)(1)(B), even if the parties do not consent and the case is

            not assigned to a Magistrate Judge the Court will refer all dispositive motions to a

            Magistrate Judge for a recommendation.          As to any such dispositive motions, the

            Magistrate Judge will submit a Report and Recommendation to the District Judge with

            proposed findings of fact and recommendations for disposition. The District Judge will

            then make a de novo determination of those portions of the Report and Recommendation

            to which any party objects, and the District Judge may accept, reject, or modify, in whole

            or in part, the findings and recommendations made by the Magistrate Judge.




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  Non-dispositive pretrial matters include all pretrial motions except for the following motions: motions
for injunctive relief, for judgment on the pleadings, for summary judgment, to dismiss or to permit
maintenance of a class action, to dismiss for failure to state a claim upon which relief can be granted, and
to involuntarily dismiss an action. These excepted motions are hereinafter referred to as “dispositive
motions.”

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                                CHOOSE ONE OF THE FOLLOWING:

          ☐          The above-named party (or parties) hereby consents to the Court assigning this case

to a United States Magistrate Judge. The above-named party (or parties) understands that if all

parties consent, the Magistrate Judge will conduct any and all proceedings in this matter, including

any trial and entry of final judgment.

          ☐          The above-named party (or parties) does not consent to this matter being referred

to a United States Magistrate Judge. The above-named party (or parties) understands that the Court

will not assign this case to a Magistrate Judge for final disposition, but the Court will still refer all

pretrial matters to a Magistrate Judge in the manner described above.



          Signed this                       day of                                      , 2022.




                                          Signature of the Above-Named Party if Proceeding Pro Se or
                                          Counsel for the Above-named Party or Parties if Represented




                                                      3
